Case 1:23-cv-11808-ESK-EAP Document 182 Filed 03/29/24 Page 1 of 2 PageID: 4094




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



  COMMODITY FUTURES TRADING
  COMMISSION,
                                                    Civil Action No. 23-11808
                           Plaintiff,

           v.                                            ORDER OF SPECIAL MASTER

  TRADERS GLOBAL GROUP INC., et al.,

                          Defendants.


 LINARES, J.

         This matter having been brought before the Special Master by way of the Motion filed by

 Anthony Sodono, III, former Temporary Receiver (“Temporary Receiver”) for Traders Global

 Group Inc., a New Jersey corporation, d/b/a “My Forex Funds”; Traders Global Group Inc., a

 Canadian business organization; and Murtuza Kazmi, to (1) Approve and Authorize Payment of

 Final Fees and Expenses to: (i) McManimon, Scotland & Baumann, LLC, Counsel to Temporary

 Receiver (“MS&B”) and (ii) Eisner Advisory Group, LLC (“Eisner”), Accountants to Temporary

 Receiver, and (2) Authorize Temporary Receiver to Turnover the Balance of Funds Held By

 Temporary Receiver To Defendants After Payment of Final Fees and Expenses (the “Motion”)

 (ECF No. 166.); and no opposition having been filed; and for good cause shown;

         IT IS on this 29th day of March, 2024,

         ORDERED that the Temporary Receiver’s Motion is GRANTED; and it is further

         ORDERED that final compensation and expenses are allowed as follows:

                   1.     To MS&B, the sum of $11,868.80 for compensation for services rendered

                   during the final fee period and the sum of $49.93 for reimbursement of expenses



 ME1 46902296v.1
Case 1:23-cv-11808-ESK-EAP Document 182 Filed 03/29/24 Page 2 of 2 PageID: 4095




                   incurred during the final fee period, for a total award of $11,918.73 during the final

                   fee period;

                   2.      To Eisner, the sum of $6,446.00 for compensation for services rendered

                   during the final fee period; and it is further

         ORDERED that the Temporary Receiver is authorized to disburse funds from the

 Temporary Receiver’s account in payment of the fees and expenses awarded herein to MS&B and

 Eisner; and it is further

         ORDERED that the Temporary Receiver shall turnover to Defendants the balance of funds

 on hand after payment of the above fees and expenses.

         SO ORDERED.

                                                   __/s/ Jose L. Linares_______________________

                                                   Hon. Jose L. Linares, U.S.D.J. (Ret.)




 ME1 46902296v.1
